FEO OIC IGOR OO IOI IR ik ek

EYAL SAMUEL ROSENSTOCK CASE NO. :18-19227

BOS AG Ae AG fe fe fe ee 2 2B oie fe fe fe fe ofc fe fe 2s 2k 2K 2c ok fe ok

Case 18-19227 Doc54 Filed 05/29/19 Pagei1of5

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND (GREENBELT)

Debtor CHAPTER 13

 

CREDITOR’S REPLY TO OBJECTION TO CLAIM
AND MOTION TO INFORM

TO THE HONORABLE COURT:

NOW COMES the creditor herein, Marie Pifieiro Perez, who very respectfully

ALLEGES AND PRAYS the following:

1.

On May 15", 2019 I was served with a summons and copy of a complaint filed in Puerto
Rico, First Instance Court, Mayaguez Ward and case number M2 2019-CV 00247 by debtor
Eyal Samuel Rosestock in which he alleges makes incredible accusations regarding an
alleged fraud. The filing of such case arouse curiosity to investigate if debtor had filed a
motion regarding my claim in the bankruptcy case.

To my surprise and dismay, debtor filed an objection to proof of claim without notifying said
document to creditor herein even though it included in the motion that I was notified.
Therefor a timely reply to said objection was not filed.

Debtor argues that because of the filing of said suit, creditor’s herein claim be automatically
reduced to $36,315.88. Said contention is objected.

The filing of the suit does not establish nor concludes final grounds that would allow debtor
to consider as final the amounts owed to creditor herein in regards to pre petition child
support payments in arrears

In regards to said objection, debtor identifies the case number as CV 000125450 when the
correct case number is M2 2019-CV 00247. If there is another case, the only case I have been
served is the mentioned one. Please take notice of the attachment included.

Creditor herein believes that the strategy behind filing such incredible allegations is only to
delay the confirmation of the case and the commencement of child support pre petition

payments in arrears to creditor herein. For said reason, creditor herein will be filing a request

for a protective order.

 

 
Case 18-19227 Doc54 Filed 05/29/19 Page 2of5

7. Due to the reasons stated above, it is requested that an order be entered instructing debtor to
notify all documents to the address provided as per notice of appearance and the 30 days
notice to reply to the objection to the proof of claim be considered as the date of the service
of the suit to the appearing party.

8. It is also requested that the objection to proof of claim be denied and remains moot until such
case is resolved.

WHEREFORE and view of the above said, I, Marie Pifieiro Perez respectfully requests that
the Honorable Court takes notice of the above, the objection to proof of claim be denied, and a order
is entered instructing debtor to notify of the motions filed in the present case for the continuation of
the proceedings.

I HEREBY CERTIFY on this same date I electronically filed the foregoing document with
the clerk of the court using the CM/ECF System which will sent notification of such filing to: US
Trustee, Chapter 13 Trustee Nancy Spencer Grigsby, Esq at grisbyecf@ch13md.com and David
Erwin Cahn, Esq at cahnd@cahnlawoffice.com , and by regular mail and all parties in interest that

are non CM/ECF participants as of the creditor matrix attached hereto.

In San Juan, Puerto Rico, this May 20th, 2019.

/s/ Marie Pifieiro Pérez
MARIE PINEIRO PEREZ
Urb. Paseo Los Robles
Las Colinas II

Apt. 1305

Mayaguez P.R., 00682
Tel. 787-464-7050

 

 
Case,18-19227,. Doc.54.,, Filed 05/29/19 Page 3 of 5 _

ESTADO LIBRE ASOCIADO DE PUETO RICO
TRIBUNAL DE PRIMERA INSTANCIA
CENTRO JUDICIAL DE MAYAGUEZ

SALA SUPERIOR

   
 

EYAL S. ROSENSTOCK Civil Nim. M2219 CV 00 247
DEMANDANTE

v.
MARIE PINEIRO PEREZ » LUIS IGNACIO | SOBRE: Accién declarativa de simulacién

PINEIRO MONTALVO contractual
DEMANDADOS

 

 

EMPLA/AMIENTO

-ESTADOS UNIDOS DE AMERICA:

PRESIDENTE DE LOS ESTADOS UNIDOS DE AMERICA:
ESTADO LIBRE ASOCIADO DE PUERTO RICO:

A: MARLE PINEIRO PEREZ

POR LA PRESENTE, se le emplaza y requiere para que presente al Tribunal su alegacién
responsiva a la demanda deutra de los treinta (30) dias de haber sido diligenciado este
emplazamiento, excluycndose el dia del dilizenciumiento. Usted dcberd presentar su alegicién
responsiva a través del Sistema Unificado de Manejo y Admintstracién de Casas (SUMAC), a la
cual puede acceder utilizando la siguiente direccién electrénica: hops united comajudicial.pr.
salvo que se represente por derevho propio, en cuyo caso deberd presentar su alegacién respunsiva
en la secrvtaria del tribunal. Si usted deja de presentar su alegaciiin responsiva dentro del referido
termino, el Tribunal podr4é dictar sentencia en rebeldia en su contra y conceder el remedio
solicitada en la demanda, o cualquier otro, si el Tribunal en el ujercicio de su sana discrecién, lo
entiende procedente.

LCDA. NIORLY Y. MENDOZA
RUA #: 17650
151 CALLE DE SAN FRANCISCO
SUITE 200 BOX 5138
SAN JUAN, PR 00901
Tel. (787) 506-8021
Email: Icdamendozaia:icloud.com

+

Expedido bajo mi firma y sello del Tribunal, hoy 9 de Wau, de del J.
qd

 

 

 
 

Case 18-19227 Doc54 Filed 05/29/19 Page 4 of 5

Ne:

 

CERTIFICADO DE DILIGENCI AMIENTOPOR PERSONA PARTICULAR
¢ }
Yo, ndre's Geonzakz, , declaro tener capacidad conforme la Regla
4.3 de Procedimiento Civil de Puerto Rico, y CERTIFICO que el 15th del

 

emplazamiento y la demanda del caso de referencia fue realizado por mi,el /“S” de

de L019 , de la siguiente forma: . Pp :
Marie MEIro Vere>.

 Mediant ntre igui irecci6n;
a personal a Iz parte demandada en Ia s iente direccién:

LS, ~Ben (/ tt Lie Mien. 2H.

rien Ca /

Accesible en la inmediata presencia de la parte demandada en la siguiente direccién fisica:

 

 

Dejando copia de los documentos a un (a) agente autorizado (a) por la parte demandada 0
designada por ley para recibir emplazamientos a la Siguiente direccién fisica:

 

No se pudo diligenciar el emplazamiento debido a que:

 

 

 

 

 

DECLARACION DEL (DE LA) EM PLAZADOR (A)

   
   

eclaro bajo pena de pexjuri conforme a las Leyes del Histado Libre Asociado de Puerto
iCo, que la informacién provikta en ‘sl diligenciamiento del emplazamiento es verdadera y

 
  

 

 

QUE ASi CONSTE, sustribo Ia presente en Me orydior . Puerto Rico, hoy
de Zal9.

 

AFFIDAVIT NUM.

 

Jurado(a) y suserito(a} ante mi por | , de las
circunstancias personales anteriormente mencionadas, a quien doy fe de conocer por medio de

 

En

 

Puerto Rico, hoy, de de 2079,

Por:

 

 

Nombre del Notario o a . Nombre del (de la) Secretario (a)
Secretario(a) Regional ” Auxiliar del Tribunal

 

 

 
Case 18-19227 Doc54 Filed 05/29/19 Page5of5

 

May 21%, 2019 Mrol2

Bankruptcy Clerk’s Office
Greenbelt Division

6500 Cherywood Lane, Ste 300
Greenbelt, MD 20770

To the Bankrutpcy Court Clerk:

SUBJECT: EYAL SAMUEL ROSENSTOCK
Case No. 18-19227

Included is the original and copy of the CREDITOR’S REPLY TO OBJECTION TO CLAIM
AND MOTION TO INFORM, in the reference case with self-addressed envelope.

Please file the originals and return the marked copy in the envelope provided with this
correspondence.

Cordially,

Manie Piteino Perez
Marie Pifieiro Perez

Enclosure

 

 
